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AO 470 (Rev. 01/09) Order Scheduling a Detention Hearing

 

UNITED STATES DISTRICT COURT

for the
District of NEVADA

United States of America

v. Case No. 2:21-mj-00940-DJA

RAMON ARMENDARIZ, JR.
Defendant

 

ORDER SCHEDULING A DETENTION HEARING

A detention hearing in this case is scheduled as follows:

 

 

 

Eastern District of California.
Place: AS ORDERED Courtroom No:: AS ORDERED

 

Date and Time: AS ORDERED

 

 

 

IT [S ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and
place set forth above.

 

 

 

 

 

 

 

Date: 11/3/21 _
Judge's signature
DANIEL J. ALBREGTS, U.S. Magistrate Judge
Printed name and title
—__— FILED ——_ RECEIVED
——__ ENTERED ——— SERVED ON
COUNSEL/PARTIES OF RECORD
NOV -3 2021
CLERK US DISTRICT COURT
DISTRICT OF NEVADA
DEPUTY

 

 

 

 
